     Case 15-40749-elm13 Doc 108 Filed 05/20/20                                   Entered 05/20/20 11:07:31             Page 1 of 4
 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Janet S Hotsko
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Northern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                             (State)
 Case number             15-40749-elm13
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  US BANK TRUST NATIONAL ASSOCIATION AS
                                  TRUSTEE OF CABANA SERIES III TRUST                                         Court claim no. (if known):
 Name of creditor:                ______________________________________                                     8
                                                                                                             _________________

 Last 4 digits of any number you use to identify the debtor’s account:                   8 ____
                                                                                       ____      5 ____
                                                                                             2 ____ 0
 Property address:                510 Leatherwood Lane
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Greenville, TX 75402
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

  q     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

  q     Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

  q     Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:              ____/_____/______
                                                                                 MM / DD / YYYY

  q     Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                         (a)     2047.06
                                                                                                                                  $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                        (c)     2047.06
                                                                                                                                  $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became             04    01 2020
                                                                                ____/_____/______
        due on:                                                                  MM / DD    / YYYY


Form 4100R                                                 Response to Notice of Final Cure Payment                                    page 1
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Debtor 1        Janet S Hotsko
                _______________________________________________________                      Case number          15-40749-elm13
                                                                                                           (if known) _____________________________________
                First Name      Middle Name              Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
  n all payments received;
  n all fees, costs, escrow, and expenses assessed to the mortgage; and
  n all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

  q      I am the creditor.
  q      I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               û /s/ Angie M Marth
                   __________________________________________________
                   Signature
                                                                                             Date    05 20 2020
                                                                                                     ____/_____/________




 Print             Angie M Marth
                   _________________________________________________________                 Title   Authorized Agent for Secured Creditor
                                                                                                     ___________________________________
                   First Name                      Middle Name        Last Name




 Company           Ghidotti Berger, LLP
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           600 E. John Carpenter Fwy., Suite 175
                   _________________________________________________________
                   Number                 Street


                   Irving, TX 75062
                   ___________________________________________________
                   City                                               State       ZIP Code




 Contact phone      972 _____–
                   (______) 893 _________
                                3096                                                               bknotifications@ghidottiberger.com
                                                                                             Email ________________________




Form 4100R                                                       Response to Notice of Final Cure Payment                                         page 2
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BK Case                 15-40749
                                           * Prior to 12/2011 payment changes were not required to be filed in
BK Filing Date         2/24/2015
                                                               courts or with Proof of claim
 First Post date        3/1/2015
Pmt Change Filed       Fliling Date        Effective date      Amount             PI       Escrow     Others                                                           Comment
POC pmt Filed          6/23/2015             3/1/2015          $884.48           $518.01   $366.47               As per trustee ledger, there are 11 post-petition arrears from 01-01-16 to 11-01-16 @ $884.48 each.
Pmt Change Filed       12/9/2016             1/1/2017          $904.79           $518.01   $386.78
Pmt Change Filed       3/21/2017             5/1/2017          $913.75           $518.01   $395.74
Pmt Change Filed       2/13/2018             4/1/2018          $952.88           $518.01   $434.87
Pmt Change Filed       7/11/2019             8/1/2019          $982.75           $518.01   $464.74
Pmt Change Filed        1/9/2020             2/1/2020         $1,023.53          $518.01   $505.52
      Date Rcvd      Amount Rcvd/Rvd       Amount Due         Due Date       Suspense
      4/13/2015          $934.55              $884.48         3/1/2015     $       50.07
      5/15/2015          $934.55              $884.48         4/1/2015     $      100.14
      7/27/2015          $450.00                                           $      550.14
                                             $884.48          5/1/2015     $     -334.34
                                             $884.48          6/1/2015     $ -1,218.82
                                             $884.48          7/1/2015     $ -2,103.30
                                             $884.48          8/1/2015     $ -2,987.78
                                             $884.48          9/1/2015     $ -3,872.26
                                             $675.00            Fees       $ -4,547.26
APO Entered 9/25/15 covering 5/1/15-9/1/15 IAO $4,547.26. Arrears added to Plan. Regular
                                  resume 10/01/15.
    11/6/2015             $905.29              $884.48        10/1/2015     $      20.81
    12/1/2015             $905.29              $884.48        11/1/2015     $      41.62
     1/4/2016             $905.29              $884.48        12/1/2015     $      62.43
  Plan Modified 12/13/16. Post-petition arrears from 1/1/16-11/1/16 added to Plan IAO
 $9,666.85. Borrower to make payments for 12/1/16 and 1/1/17. Trustee to begin making
                             conduit payments on 2/1/17.
     3/6/2017            $2,714.37             $904.79         2/1/2017    $ 1,809.58
     3/6/2017                                  $904.79         3/1/2017     $    904.79
     3/6/2017                                  $904.79         4/1/2017     $        -
     4/4/2017             $904.79                                           $    904.79
     5/3/2017             $904.79              $913.75         5/1/2017     $    895.83
     6/7/2017             $913.75              $913.75         6/1/2017     $    895.83
     7/5/2017              $17.92              $913.75         7/1/2017     $        -
     8/1/2017             $913.75              $913.75         8/1/2017     $        -
     9/6/2017             $913.75              $913.75         9/1/2017     $        -
    10/3/2017             $913.75              $913.75        10/1/2017     $        -
    11/3/2017             $913.75              $913.75        11/1/2017     $        -
    12/4/2017             $913.75              $913.75        12/1/2017     $        -
     2/6/2018            $1,827.50             $913.75         1/1/2018     $    913.75
     2/6/2018                                  $913.75         2/1/2018     $        -
     3/5/2018             $913.75              $913.75         3/1/2018     $        -
     4/3/2018             $913.75              $913.75         4/1/2018     $        -
     5/3/2018             $952.88              $952.88         5/1/2018     $        -
    6/20/2018             $952.88              $952.88         6/1/2018     $        -
     7/2/2018             $952.88              $952.88         7/1/2018     $        -
     8/3/2018             $952.88              $952.88         8/1/2018     $        -
     9/3/2018             $952.88              $952.88         9/1/2018     $        -
    12/2/2018            $2,858.64             $952.88        10/1/2018    $ 1,905.76
    12/2/2018                                  $952.88        11/1/2018     $    952.88
    12/2/2018                                  $952.88        12/1/2018     $        -
     1/3/2019             $952.88              $952.88         1/1/2019     $        -
     2/2/2019             $952.88              $952.88         2/1/2019     $        -
     5/6/2019            $2,858.64             $952.88        3/1/2019     $ 1,905.76
     5/6/2019                                  $952.88         4/1/2019     $    952.88
     5/6/2019                                  $952.88         5/1/2019     $        -
     6/2/2019             $952.88              $952.88         6/1/2019     $        -
     8/3/2019            $1,935.63             $952.88        7/1/2019      $    982.75
     8/3/2019                                  $982.75         8/1/2019     $        -
    10/2/2019             $982.75              $982.75         9/1/2019     $        -
    4/28/2020            $5,978.06             $982.75        10/1/2019    $ 4,995.31
    4/28/2020                                  $982.75        11/1/2019    $ 4,012.56
    4/28/2020                                  $982.75        12/1/2019    $ 3,029.81
    4/28/2020                                  $982.75         1/1/2020    $ 2,047.06
    4/28/2020                                 $1,023.53       2/1/2020     $ 1,023.53
    4/28/2020                                 $1,023.53       3/1/2020      $        -
                                                                            $        -
                                                                            $        -
                                                                            $        -
                                                                            $        -
                                                                            $        -
                                                                            $        -
                                                                            $        -
                                                                            $        -
                                                                            $        -
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                                      CERTIFICATE OF SERVICE
              On May 20, 2020, I served the foregoing documents described as Response to Notice of
      Final Cure on the following individuals by electronic means through the Court’s ECF program:
              COUNSEL FOR DEBTOR
              Richard M. Weaver lawweaver@sbcglobal.net

              TRUSTEE
              Tim Truman ftworthchapter13trustee-ecf@ch13ftw.com

              US TRUSTEE
              US Trustee ustpregion06.da.ecf@usdoj.gov

              I declare under penalty of perjury under the laws of the United States of America that the
      foregoing is true and correct.
                                                               /s/ Brandy Carroll
                                                               Brandy Carroll

              On May 20, 2020, I served the foregoing documents described as Response to Notice of
      Final Cure on the following individuals by depositing true copies thereof in the United States mail
      at Santa Ana, California enclosed in a sealed envelope, with postage paid, addressed as follows:


       Debtor
       Janet S Hotsko
       510 Leatherwood Lane
       Greenville, TX 75402

              I declare under penalty of perjury under the laws of the United States of America that the
      foregoing is true and correct.
                                                               /s/ Brandy Carroll
                                                               Brandy Carroll
